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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

In re: Oil Spill by the Oil Rig “Deepwater           §
Horizon” in the Gulf of Mexico on April 20,          §       MDL No. 2179
2010.                                                §       SECTION “J”
                                                     §
                                                     §       JUDGE BARBIER
This Document Relates to:                            §
                                                     §       MAGISTRATE SHUSHAN
10-4239                                              §
10-4240                                              §
10-4241                                              §

                              NOTICE OF SUBMISSION
       PLEASE TAKE NOTICE that subject to Pre-trial Orders Nos. 11 and 25, in

which the Court directed that the Court will set the date of all hearings on Motions in this

case, the Ex Parte Motion for Leave to File Sur-Reply in Opposition to Reply in Support

of Motion of Defendant Anadarko Petroleum Corporation to Dismiss the Complaints of

the Mexican States (Pleading Bundle “C”) is tentatively noticed for submission at 9:30

a.m. on July 15, 2011.


                                              Dated: June 27, 2011

                                              Respectfully submitted,


                                              SERNA & ASSOCIATES PLLC


                                              /s/ Enrique G. Serna
                                              Enrique G. Serna
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                           CERTIFICATE OF SERVICE
       I hereby Certify that the above and foregoing NOTICE OF SUBMISSION, has
been served on All Counsel by electronically uploading the same to LexisNexis File &
Serve in accordance with Pretrial Order No.12, and that the foregoing was electronically
filed by using the CM/ECF System which will send a notice of electronic filing in
accordance with the procedures established in MDL 2179, this the 27th day of June 2011.

                                                   /s/ Enrique G. Serna
                                                   Enrique G. Serna




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